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                UNITED STATES COURT OF INTERNATIONAL TRADE

 INTERNATIONAL MARKETING
 SYSTEMS, LTD,
                                Plaintiff,
                                v.
 UNITED STATES OF AMERICA; OFFICE
 OF THE UNITED STATES TRADE
                                                     Court No. 20-01740
 REPRESENTATIVE; KATHERINE TAI,
 U.S. TRADE REPRESENTATIVE; U.S.
 CUSTOMS & BORDER PROTECTION;
 TROY A. MILLER, U.S. CUSTOMS &
 BORDER PROTECTION ACTING
 COMMISSIONER,
                                Defendants.



                            MOTION TO AMEND COMPLAINT

       Pursuant to Rule 15(a)(2) of the Rules of the United States Court of International Trade,

Plaintiff hereby moves to amend the electronically filed Complaint in the subject action by

substituting the attached Amended Complaint document for the Complaint document originally

filed with the Court. The reasons in support of this motion, which are more fully set forth in the

memorandum annexed hereto, are:

       1.      Plaintiff filed the initial Complaint on September 19, 2020.

       2.      Plaintiff has not previously amended the Complaint.

       3.      Plaintiff has requested the Defendants’ for their consent and will follow up with

such consent (or denial) once received. In the interim the Plaintiff has filed this Amended

Complaint to preserve its rights associated with the tariffs imposed by List 4A which went into

effect on August 20, 2019 since a plaintiff must commence an action under 28 U.S.C. § 1581(i)(1)

“within two years after the cause of action first accrues,” 28 U.S.C. § 2636(i).



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       4.      With the amendments Plaintiff seeks to include timely claims as to the actions taken

by Defendants associated with the tariffs imposed by List 4A, to consolidate claims and with the

expectation of averting any need to file a separate action at a later time.

       5.      No party will be prejudiced, and the best interests of justice will be served by

allowing the filing of the proposed First Amended Complaint.

       6.      Plaintiff has attached an original of the proposed Amended Complaint as Exhibit 1

to its Memorandum in Support of its Motion to Amend Complaint.

       WHEREFORE, Plaintiff respectfully requests that this Court enter an order granting

Plaintiff’s Motion to Amend Complaint, and directing the Clerk of the Court to accept Plaintiff’s

First Amended Complaint for filing.



                                               Respectfully submitted,



Dated: August 19, 2021
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2021, copies of Plaintiff’s Motion to Amend Pleading,

Memorandum in Support of Motion to Amend Pleading, and Proposed Order were caused to be

served on Defendants’ counsel at the following address by certified mail, return receipt requested:



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                                                     Ashley Craig




                                                     Elizabeth Lowe
